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                                UNITED STATES DISTRICT COURT
                                  MIDDLE DISTRICT OF FLORIDA                     2ff/7jm 27             1,()
                                       FORT MYERS DIVISION


                        Case No.:

 UNITED STATES OF AMERICA ex rel,
 MARIANNE K.PARKER,

                             Plaintiff/Relator,

 V.



 FLORIDA CANCER SPECIALISTS, P.L.,
                                                                                                    V
 d/b/a FLORIDA CANCER SPECIALISTS                                   FILED UNDER SEAL
 AND RESEARCH INSTITUTE,

                             Defendant.
                                                   /


          COMPLAINT PURSUANT TO FALSE CLAIMS ACT (31 U.S.C. S 3730(bK2H


          COMES NOW, UNITED STATES OF AMERICA ex rel. Marianne K. Parker

(hereinafter "Relator"), and hereby submits the following Complaint under seal in accordance

with the requirements of the False Claims Act, 31 U.S.C. §3730(b)(2).

      L         NATURE OF THE ACTION


           1.     This matter involves one of the largest cancer centers in America and their refusal

to return substantial overpayments for treatment provided to VA patients, despite being made

aware of the situation by Relator.

          2.      Relator worked as a Claims Resolution Specialist for Florida Cancer Specialists

and Research Institute (hereinafter "Defendant").            Relator uncovered several incidents of

overpayments sent by the VA for physician billed services. Relator's investigation into this

matter uncovered significant overpayments dating back to October 2012 and continuing through

the present. These overpayments were obvious on their face, in that the VA reimbursed at a




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